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     Federal Defender
2    DAVID M. PORTER, Bar #127024
     Assistant Federal Defender
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5
6    Attorneys for Defendant
     TALTON ROBINSON
7
8                                            UNITED STATES DISTRICT COURT
9                                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. Cr. S 05-122 GEB 1

12                             Plaintiff,                STIPULATED MOTION AND [lodged] ORDER
                                                         TO REDUCE SENTENCE PURSUANT TO
13             v.                                        SECTION 404 OF THE FIRST STEP ACT, P.L.
                                                         115-391
14   TALTON ROBINSON,

15                             Defendant.                Judge: Honorable GARLAND E. BURRELL, Jr.

16
               Defendant, TALTON ROBINSON, by and through his attorney, Assistant Federal
17
     Defender David M. Porter, and plaintiff, UNITED STATES OF AMERICA, by and through its
18
     counsel, Assistant U.S. Attorney Jason Hitt, hereby stipulate that the Court should enter an
19
     amended judgment reducing Mr. Robinson’s sentence to 188 months. The parties further
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     stipulate as follows:
21             1.         In 2006, defendant was convicted of conspiring to distribute 82.3 grams of crack
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     cocaine. (PSR ¶ 15). In its calculation of the applicable guideline range, the PSR concluded
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     defendant was a career offender (PSR ¶ 28), subject to a guideline range of 262 to 327 months.
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     (PSR ¶ 80.) Because the statutory maximum penalty for the offense of conviction was life (PSR
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     ¶ 87), the base offense level under USSG § 4B1.1 was 37. (PSR ¶ 28.)
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               2.         Defendant was sentenced to a term of 262 months, to be followed by a 60-month
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     term of supervised release. (Dkt. 57.)
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     Stipulation and Order Re: Sentence Reduction          1
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1              3.         On December 21, 2018, the First Step Act was enacted. First Step Act of 2018, S.
2    756, Pub. Law 115-391. Section 404 of the Act states that the sentencing court may, upon
3    motion of the defendant, an attorney for the government, or the court, “impose a reduced
4    sentence as if section 2 and 3 of the Fair Sentencing Act of 2010 . . . were in effect at the time the
5    covered offense was committed.”
6              4.         The parties agree that defendant is eligible for a reduction of his sentence under
7    Section 404. Specifically, had sections 2 and 3 of the Fair Sentencing Act of 2010 been in effect
8    at the time the offense was committed, defendant would have been subject to a “term of
9    imprisonment which may not be less than 5 years and not more than 40 years.” 21 U.S.C.
10   § 841(b)(1)(B) (2010). Because the statutory penalty for the offense of conviction involving 28
11   grams or more of cocaine base is “not more than 40 years,” 21 U.S.C. § 841(b)(1)(B), the base
12   offense level under USSG § 4B1.1 is 34, resulting (after a three-level reduction for acceptance of
13   responsibility, USSG § 3E1.1) in a guideline range of 188 to 235 months. USSG Ch. 5, Pt. A.
14             5.         The parties agree that, under the First Step Act, defendant is eligible for
15   immediate release. Accordingly, the parties request this Court issue the order lodged herewith
16   reducing Mr. Robinson’s sentence to 188 months, all other terms of the judgment remaining
17   unchanged.
18             6.         The undersigned counsel for defendant affirms that he has discussed this
19   stipulation with defendant and that defendant has authorized counsel to enter into this agreement
20   on his behalf. The undersigned counsel also affirms that, so long as the Court accepts this
21   stipulation, defendant waives his right to be present when the Court reduces his sentence, to any
22   hearing, and to any findings to which he might be entitled. The defendant has so indicated, and
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     Stipulation and Order Re: Sentence Reduction           2
        Case 2:05-cr-00122-DC Document 133 Filed 02/14/19 Page 3 of 4



1    counsel joins in that waiver.
2    Respectfully submitted,
3    Dated: February 13, 2019                       Dated: February 13, 2019
4    McGREGOR SCOTT                                 HEATHER E. WILLIAMS
     United States Attorney                         Federal Defender
5
6     /s/ Jason Hitt                                /s/ David M. Porter
     JASON HITT                                     DAVID M. PORTER
7    Assistant U.S. Attorney                        Assistant Federal Defender
8    Attorney for Plaintiff                         Attorneys for Defendant
     UNITED STATES OF AMERICA                       TALTON ROBINSON
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     Stipulation and Order Re: Sentence Reduction      3
        Case 2:05-cr-00122-DC Document 133 Filed 02/14/19 Page 4 of 4



1                                                   ORDER
2              This matter came before the Court on the stipulated motion of the defendant for reduction
3    of sentence pursuant to the First Step Act, P.L. 115-391.
4              The parties agree, and the Court finds, that Mr. Robinson is entitled to the benefit of
5    Section 404 of the First Step Act, resulting in an amended guideline range of 188 to 235 months.
6              IT IS HEREBY ORDERED that the term of imprisonment imposed in June 2006 is
7    reduced to a term of 188 months.
8              IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
9    remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
10   reduction in sentence, and shall serve certified copies of the amended judgment on the United
11   States Bureau of Prisons and the United States Probation Office.
12             Mr. Robinson shall report to the United States Probation Office within seventy-two hours
13   after his release.
14             Defendant’s pro se motion filed January 2, 2019 (Dkt. 126) and the motion filed February
15   12, 2019 (Dkt. 131) are dismissed as moot.
16   Dated: February 14, 2019
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     Stipulation and Order Re: Sentence Reduction        4
